                         1:17-cv-01159-JES-JEH # 1             Page 1 of 5
                                                                                              E-FILED
                                                                    Tuesday, 18 April, 2017 02:45:10 PM
                                                                          Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

HEATHER BILL,                                    )
                                                 )
                      Plaintiff,                 )      1:17-cv-01159
                                                 )
       v.                                        )
                                                 )
T-H PROFESSIONAL & MED                           )
COLLECTIONS, LTD.,                               )
                                                 )
                      Defendant.                 )

                                          COMPLAINT

       NOW COMES the plaintiff, HEATHER BILL, by and through her attorneys,

SMITHMARCO, P.C., and for her Complaint against the defendant, T-H PROFESSIONAL &

MED COLLECTIONS, LTD., the plaintiff states as follows:

                               I.        PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq.

                                   II.    JURISDICTION & VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and pursuant to 28

U.S.C. §1331 and 28 U.S.C. §1337.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                          III.       PARTIES

       4.      HEATHER BILL, (hereinafter, “Plaintiff”) is an individual who was at all

relevant times residing in the City of Washington, County of Tazewell, State of Illinois.

       5.      The Debt was for a medical bill which was for the personal use of Plaintiff and/or

used for household expenditure.

                                            Page 1 of 5
                           1:17-cv-01159-JES-JEH # 1             Page 2 of 5




           6.    At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1692a(3).

           7.    T-H     PROFESSIONAL          &    MED      COLLECTIONS,       LTD.,    (hereinafter,

“Defendant”) is a business entity engaged in the collection of debt within the State of Illinois.

Defendant’s principal place of business is located in the State of Illinois. Defendant is registered

as a limited in the State of Illinois.

           8.    The principal purpose of Defendant’s business is the collection of debts allegedly

owed to third parties.

           9.    Defendant regularly collects, or attempts to collect, debts allegedly owed to third

parties.

           10.   During the course of its efforts to collect debts allegedly owed to third parties,

Defendant sends to alleged debtors bills, statements, and/or other correspondence via the mail

and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication, such as the telephone and facsimile.

           11.   At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

           12.   At all relevant times, Defendant acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.

                                         IV.       ALLEGATIONS

           13.   On or about March 16, 2017, Plaintiff’s ex-husband received a telephone call

from a duly authorized representative of Defendant, who stated that she was calling to collect the

Debt from Plaintiff.



                                               Page 2 of 5
                           1:17-cv-01159-JES-JEH # 1          Page 3 of 5




       14.     At that time, Plaintiff’s ex-husband advised that they were no longer a married

couple and that this bill was incurred solely by Plaintiff.

       15.     Despite being advised that this person was not the debtor and no longer the spouse

of the Plaintiff, who was the debtor, Defendant persisted on calling Plaintiff’s ex-husband three

(3) more times that day.

       16.     In response to the above, Plaintiff contacted the Defendant to discuss the purpose

of the calls and spoke with a representative named “Wanda”.

       17.     On or about March 16, 2017, during the course of a telephone call between

Wanda and Plaintiff, Defendant stated that they just did am employment verification where her

ex-husband worked, and now they were going to do an employment verification where she, the

Plaintiff worked.

       18.     Plaintiff inquired of Wanda why she was verifying their employment, and in

response Wanda stated that once they verify the employment, the collector is going to take the

money on an involuntary basis if it won’t be paid voluntarily.

       19.     The aforementioned representation had the effect of conveying to an

unsophisticated consumer that either Defendant had a present right to garnish her wages

       20.     Defendant’s representations, as delineated above, were false, deceptive and

misleading given that no lawsuit had been instituted against Plaintiff, no judgment had been

obtained against Plaintiff, and Defendant had no right to either take money involuntarily from

Plaintiff’s paycheck.

       21.     Defendant’s representations, as delineated above, misrepresented the character,

amount, and/or legal status of the Debt given that Defendant had no right to garnish Plaintiff’s

paycheck and had no means to take money from Plaintiff involuntarily.



                                             Page 3 of 5
                          1:17-cv-01159-JES-JEH # 1            Page 4 of 5




       22.     The debt allegedly owed by Plaintiff is not a debt that can proceed to garnishment

without Defendant first having secured a judgment against Plaintiff for the alleged debt.

       23.     Defendant has not provided to Plaintiff, within five (5) days of its initial

communication to collect the Debt, with written confirmation of the amount of the Debt, the

name of the creditor to whom the Debt is owed or a statement that unless the consumer, within

thirty days after receipt of the notice, disputes the validity of the Debt, or any portion thereof, the

Debt will be assumed to be valid by the debt collector.

       24.     In its attempts to collect the debt allegedly owed by Plaintiff, Defendant violated

the FDCPA, 15 U.S.C. §1692, in one or more of the following ways:

               a. Communicated with any person other than the consumer more than once
                  without authorization from the consumer and without a reasonable belief that
                  the earlier response from said person as to the consumer’s location was
                  erroneous or incomplete in violation of 15 U.S.C. §1692b(3);

               b. Communicated in connection with the collection of any debt with any person
                  other than the consumer, his attorney, a consumer reporting agency if
                  otherwise permitted by law, the creditor, the attorney of the creditor, or the
                  attorney of the debt collector in violation of 15 U.S.C. §1692c(b);

               c. Used false, deceptive, misleading and unfair or unconscionable means to
                  collect or attempt to collect an alleged debt in violation of 15 U.S.C. §1692e;

               d. Falsely represented the character, amount, or legal status of any debt in
                  violation of 15 U.S.C. §1692e(2)(A);

               e. Represented or implied that nonpayment of any debt will result in the arrest or
                  imprisonment of any person or the seizure, garnishment, attachment, or sale of
                  any property or wages of any person unless such action is lawful and the debt
                  collector or creditor intends to take such action in violation of 15 U.S.C.
                  §1692e(4);

               f. Threatened to take action that cannot legally or is not intended to be taken in
                  violation of 15 U.S.C. §1692e(5);

               g. Used any false representation or deceptive means to collect or attempt to
                  collect any debt or to obtain information concerning the consumer in violation
                  of 15 U.S.C. §1692e(10);

                                             Page 4 of 5
                         1:17-cv-01159-JES-JEH # 1             Page 5 of 5




               h. Failed to comply with the provisions of 15 U.S.C. §1692g(a);

               i. Was otherwise deceptive and failed to comply with the provisions of the
                  FDCPA.

       25.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

                                      V.      JURY DEMAND

       26.     Plaintiff hereby demands a trial by jury on all issues so triable.

                                   VI.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, HEATHER BILL, by and through her attorneys, respectfully

prays for Judgment to be entered in favor of Plaintiff and against Defendant as follows:

               a.     All actual compensatory damages suffered;

               b.     Statutory damages of $1,000.00;

               c.     Plaintiff’s attorneys’ fees and costs;

               d.     Any other relief deemed appropriate by this Honorable Court.


                                                               Respectfully submitted,
                                                               HEATHER BILL

                                                       By:      s/ Larry P. Smith
                                                                Attorney for Plaintiff

   Dated: April 18, 2017

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                                            Page 5 of 5
